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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 UNITED STATES OF AMERICA                      §                              Case 3-18-cr-356-S
                                               §
                                               §
                                               §
 v.                                            §
                                               §
 THOMAS D. SELGAS (1)                          §
 MICHELLE L. SELGAS (2)                        §
 JOHN GREEN (3)                                §


                                   MOTION TO COMPEL

        COMES NOW, JOHN GREEN (“Defendant” or “Green”), and through his attorneys of

record, asks this Court to direct the Attorney for the Government to:

        Disclose a written summary the Government Expert witness, James Ehler, pursuant to

Fedearl Rule of Criminal Procedure 16.

                                               I.

        The Government is required to provided a written summary of the testimony of its Epxerts

under Federal Rule of Criminal Procedure 16. The government has proffered, John Ehler, as an

expert witness on the vague issue of ethics regarding IOLTA accounts and handed the rules to the

defendant. What is missing is the opinion of the Mr. Ehler. One can guess that they intend to say

that Green unethically used his trust account, but trials are not supposed to be about

speculation. That does not allow the defense to prepare for cross examination or a Daubert

hearing.

                                                II.




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       No expertise on IOLTA accounts is demonstrated in the C.V. of the expert, and no

explanation of what unethical acts Green will be accused of. Rather, the government apparently

is asking the defense to speculate.


                                        CONCLUSION

       The defense requests the Government disclose a written expert report.


Respectfully submitted on August 8, 2019.

                                             MINNS & ARNETT

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                                 CERTIFICATE OF SERVICE

       This is to certify that on this 8th day of August 2019, a true and correct copy of the above

and foregoing instrument was served upon all counsel of record.



                                             /s/ Ashley Blair Arnett
                                             Ashley Blair Arnett
                                             Attorney for Defendant, John Green




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